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17                               UNITED STATES DISTRICT COURT
18                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
19                                       OAKLAND DIVISION
20    WHATSAPP LLC, and                 )
      META PLATFORMS INC.,              )          Case No. 4:19-cv-07123-PJH
21                                      )
                                        )
22                    Plaintiffs,       )          ADMINISTRATIVE MOTION TO
                                        )          CONSIDER WHETHER ANOTHER
23           v.                         )          PARTY’S MATERIAL SHOULD BE
                                        )          FILED UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
25    and Q CYBER TECHNOLOGIES LIMITED, )          Ctrm: 3
                                        )          Judge: Hon. Phyllis J. Hamilton
                                        )
26                    Defendants.       )
                                        )
27                                      )          Action Filed: October 29, 2019

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       Case 4:19-cv-07123-PJH            Document 443         Filed 10/23/24   Page 2 of 3




 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           PLEASE TAKE NOTICE that, pursuant to Northern District of California Local Rules 7-11

 3   and 79-5(f), Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) move the Court to

 4   consider whether Plaintiffs’ Reply Memorandum of Points and Authorities in Support of Motion for

 5   Sanctions (the “Reply”) and Exhibit R to the Reply Declaration of Micah G. Block in Support of

 6   Plaintiffs’ Motion for Sanctions (the “Block Reply Declaration”), should be sealed.

 7           The Reply and Exhibit R to the Block Reply Declaration contain references to documents that

 8   Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited have designated

 9   for confidentiality pursuant to the Stipulated Protective Order (Dkt. No. 132) in the above-captioned

10   action and/or sought leave to file under seal. Accordingly, Plaintiffs now move the Court to consider

11   whether such references in the Reply and Exhibit R to the Block Reply Declaration should be sealed.

12   See N.D. Cal. Civil L.R. 79-5(f). Plaintiffs reserve the right to challenge any confidentiality desig-

13   nations as well as the sealability of the materials at issue.

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     ADMINISTRATIVE MOTION TO CONSIDER WHETHER ANOTHER PARTY’S MATERIAL SHOULD BE FILED UNDER SEAL
     CASE NO. 4:19-CV-07123-PJH
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 1    Dated: October 23, 2024                    Respectfully Submitted,

 2
                                                 DAVIS POLK & WARDWELL LLP
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 4                                               By: /s/ Micah G. Block
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19                                                       Attorneys for Plaintiffs WhatsApp LLC and
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     CASE NO. 4:19-CV-07123-PJH
